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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                     Case No. 11-20551

 ADELFO PAMATMAT (D-18),

               Defendant.
                                                    /

        OPINION AND ORDER DENYING MOTION TO DISMISS INDICTMENT

        On March 23, 2013, the government filed a Second Superseding Indictment (Dkt.

 # 189) charging Defendant Adelfo Pamatmat and others with (1) conspiracy to distribute

 and possess with intent to distribute controlled substance in violation of 21 U.S.C. §§

 841(a)(1), 846 (“Count 1") and (2) health care fraud conspiracy in violation of 18 U.S.C.

 §§ 1347, 1349 (“Count 2"). The indictment contains eleven additional counts charging

 defendants other than Pamatmat. Pamatmat moves to dismiss Counts One and Two

 on the following grounds: (1) Counts 1 and 2 fail to inform Pamatmat of the specific acts

 that he performed in furtherance of the conspiracy, with whom he conspired to commit

 the acts, and the lengths of time Pamatmat engaged in the conspiracy and (2) Counts 1

 and 2 charge multiple conspiracies and are duplicitous. (Dkt. # 853, Pg. ID 3684-85.)

 The government filed a response, arguing that, “[s]ince the indictment is legally

 sufficient, is not duplicitous, and does not include two conspiracy charges within a single

 count, the defendant’s motion should be denied.” (Dkt. # 944, Pg. ID 4364.) For the

 reasons stated below, the motion will be denied.
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                                     I. The Indictment

       Count 1 of the indictment alleges that, from January 2008 “continuing as to some

 conspirators until on or about the date of this indictment,” Pamatmat and forty other

 defendants conspired with each other “as well as other persons not named in this

 Indictment” to distribute and possess with intent to distribute controlled substances

 including oxycodone, oxymorphone, Viccodin, hydrocone bitartrate, and Alprazolam.

 (Dkt. # 189, Pg. ID 841-43.)

       Count 2 alleges that from January 2008 “continuing as to some conspirators until

 on or about the date of this indictment,” Pamatmat, thirty-one other defendants, and

 “others[] both known and unknown to the Grand Jury” conspired to defraud a health

 care benefit program affecting commerce. (Id. at 843-45.) Count 2 further alleges that

 (1) the defendants and others unlawfully enriched themselves by submitting false claims

 to Medicare, Medicaid, and private insurers; (2) paying kickbacks and bribes to

 Medicare and Medicaid beneficiaries in order to use their beneficiary numbers for the

 basis of the fraudulent claims; (3) receiving kickbacks and bribes for arranging the

 furnishing of services for which payment may be made by Medicare and Medicaid; (4)

 concealing the submission of fraudulent claims to Medicare, Medicaid, and private

 insurers, the rexiept and transfer of proceeds from the fraud, and the payment of

 kickbacks; and (5) divesting proceeds of the fraud for the personal benefit of the

 defendants and their co-conspirators. (Id. at 845.)




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                                         II. Standard

        Under the Federal Rules of Criminal Procedure, an indictment “must be a plain,

 concise, and definite written statement of the essential facts constituting the offense

 charged.” Fed. R. Crim. P. 7(c)(1). For an indictment to be constitutional, “first, the

 indictment must set out all of the elements of the charged offense and must give notice

 to the defendant of the charges he faces; second, the indictment must be sufficiently

 specific to enable the defendant to plead double jeopardy in a subsequent proceeding, if

 charged with the same crime based on the same facts.” United States v. Martinez, 981

 F.2d 86, 872 (6th Cir. 1992) (citing Russell v. United States, 369 U.S. 749, 763-64

 (1962)).

                                      III. DISCUSSION

    A. The Indictment Adequately Informs Pamatmat of the Charges Against Him

               1. Count 1

        Pamatmat alleges that Count 1 is deficient because it does not apprise him of the

 “acts he engaged in to constitute being an alleged co-conspirator, what acts were

 entered into by Dr. Pamatmat that showed a conspiracy was willfully formed and with

 whom and what specific acts were committed by Dr. Pamatmat in furtherance of the

 conspiracy.” (Dkt. # 853, Pg. ID 3688.) The Sixth Circuit has held, however, that “[a]n

 overt act . . . need not be charged in a § 846 conspiracy.” United States v. Dempsey,

 733 F.2d 392, 396 (6th Cir. 1984) (citation omitted) (explaining that “[o]ur holding that it

 was not necessary to charge an overt act is based on the conclusion that in enacting 21

 U.S.C. § 846 Congress intended to make the conspiracy itself a complete offense.”).



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 Section 846 provides, “Any person who attempts or conspires to commit any offense

 defined in this subchapter shall be subject to the same penalties as those prescribed for

 the offense, the commission of which was the object of the attempt or conspiracy.” 21

 U.S.C. § 846. Section 841(a)(1) states, “[I]t shall be unlawful for any person knowingly

 or intentionally . . . to manufacture, distribute, or dispense, or possess with intent to

 manufacture, distribute, or dispense, a controlled substance . . . .” 21 U.S.C.               §

 841(a)(1). “The essential elements of conspiracy are that the conspiracy was willfully

 formed and that the defendant willfully became a member of the conspiracy.” United

 States v. Bourjaily, 781 F.2d 539, 544 (6th Cir. 1986). These essential elements are

 included in Count 1. Count 1 alleges that Pamatmat and others (1) intentionally and

 knowingly (2) conspired (3) to distribute and possess with intent to distribute (4) certain

 enumerated controlled substances. (Dkt. # 189, Pg. ID 842.) These allegations mirror

 §§ 841(a)(1) and 846, and “an indictment that recites statutory language in describing

 the offense is generally sufficient . . . .” United States v. Hudson, 491 F.2d 590, 593

 (6th Cir. 2007) (internal quotation marks omitted). The fact that Count 1 does not allege

 the specific acts that Pamatmat engaged in to join the conspiracy and in furtherance of

 the conspiracy was not render Count 1 infirm because Count 1 informs Pamatmat of the

 essential elements of the charge against him.

        Pamatmat also challenges Count 1 on the ground that the indictment does not

 “indicate with any specificity or particularity when Dr. Pamatmat became involved in the

 conspiracy and the duration of his involvement in the conspiracy.” (Dkt. # 853, Pg. ID

 3689.) Parmatmat argues that, because the indictment does not provide specific dates

 for his involvement in the conspiracy, he cannot adequately prepare a defense, and he

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 will lose his Sixth Amendment protection against double jeopardy. Pamatmat’s

 argument falls short in both respects.

       “Courts have found indictments insufficient where they are open-ended as to

 both beginning and end dates, but sufficient where they fix the end of the conspiracy

 and provide an approximate start date.” United States v. Vassar, 346 F. App’x 17, 19-

 20 (6th Cir. 2009). Count 1 states that the conspiracy began on or about January 2008

 and continued “as to some conspirators” until on or about the date of the indictment,

 which was filed on March 20, 2013. (Id. at 842.) Therefore, Count 1 is not open ended,

 but rather presents approximate dates for the duration of the conspiracy which enable

 Pamatmat to prepare for trial and provide double jeopardy protection against charges

 for the same conspiracy covering the dates described in the count. Moreover, “that

 conspiracy indictments typically charge ‘others known or unknown to the grand jury’

 . . . does not render an indictment unconstitutionally vague.” Id. (quoting Untied States

 v. Pingleton, 216 F. App’x 526, 529 (6th Cir. 2007)).

              2. Count 2

       Pamatmat further contends that Count 2 is deficient because it does not inform

 him of “the acts he engaged in to constitute being an alleged co-conspirator, what acts

 were entered into by Dr. Pamatmat that show a conspiracy was willfully formed and with

 whom and what specific acts were committed by Dr. Pamatmat in furtherance of the

 conspiracy.” (Dkt. # 853, Pg. ID 3688.) Likewise, he claims Count 2 is deficient

 because it does not apprise him of the specific time period during which he engaged in

 the alleged conspiracy.



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        Count 2 alleges a conspiracy in violation of 18 U.S.C. §§ 1347 and 1349.

 Section 1349 provides, “Any person who attempts or conspires to commit any offense

 under this chapter shall be subject to the same penalties as those prescribed for the

 offense, the commission of which was the object of the attempt or conspiracy.” Section

 1347 makes it unlawful to

        knowingly and willfully executes, or attempts to execute, a scheme or artifice
        (1) to defraud any health care benefit program; or (2) to obtain, by means of
        false or fraudulent pretenses, representations, or promises, any of the money
        or property owned by, or under the custody or control of, any health care
        benefit program, in connection with the delivery of or payment for health care
        benefits, items, or services.

 18 U.S.C. § 1347.

        The essential elements of § 1349 conspiracy are “(1) two or more persons

 agreed to commit fraud; (2) the defendant knew the unlawful purpose of the agreement;

 and (3) the defendant joined the agreement with the intent to further the unlawful

 purpose.” United States v. Beacham, 774 F.3d 267, 272 (5th Cir. 2014). To violate

 § 1347, the defendant must “(1) execute[] a scheme or artifice to defraud a health care

 benefit program in connection with the delivery of or payment for health care benefits,

 items, or services; (2) . . . act[] knowingly and willfully with a specific intent to defraud;

 and (3) the scheme to defraud [must] employ[] false representations.” United States v.

 Garcia, 432 F. App’x 318, 322 (5th Cir. 2011). The indictment alleges all of the

 essential elements of a health care fraud conspiracy. It states that, “beginning on or

 about January, 2008, and continuing as to some conspirators until on or about the date

 of this indictment,” Pamatmat and others (1) willfully, with the specific intent to further

 the object of the conspiracy, and knowingly,” (2) conspired and agreed with others (3)


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 “to execute and scheme and artifice to defraud a health care benefit program affecting

 commerce” (4) “by means of materially false and fraudulent pretenses, representations,

 and promises, money and property owned by, and under the custody and control of,

 said health care benefit program” (5) “in connection with the delivery of and payment of

 health care benefits, items, and services.” (Dkt. # 189, 844-45.) Furthermore, the

 indictment alleges that “[i]t was the purpose of the conspiracy for the defendants and

 others to unlawfully enrich themselves by:”

       (a) submitting false and fraudulent claims to Medicare, Medicaid, and private
       insurers for prescription medication, physician office visits, physician home
       visits, and other services; (b) offering and paying kickbacks and bribes to
       Medicare and Medicaid beneficiaries for the purpose of such beneficiaries
       arranging for the use of their Medicare and Medicaid beneficiary numbers by
       the conspirators as the bases of claims filed for prescription medication and
       other services; (c) soliciting and receiving kickbacks and bribes in return for
       arranging for the furnishing of services for which payment may be made by
       Medicare and Medicaid by providing their Medicare and Medicaid beneficiary
       numbers . . . ; (d) concealing the submission of false and fraudulent claims
       . . . , the receipt and transfer of th proceeds from the fraud, and the payment
       of kickbacks; and (e) diverting proceeds of the fraud for the personal use and
       benefit of the defendants and their co-conspirators.

 (Dkt. # 189, Pg. ID 845.)

       Count 2 informs Pamatmat of the charge against him with sufficient specificity

 and particularity for him to prepare an adequate defense and to make “evident to what

 extent a plea of double jeopardy is available to the accused in the event of future

 charges involving similar offenses.” United States v. Levinson, 405 F.2d 971, 977 (6th

 Cir., 1968). Likewise, as with Count 1, Count 2 presents approximate dates for the

 duration of the conspiracy which enable Pamatmat to prepare for trial and provide

 double jeopardy protection against charges for the same conspiracy covering the dates

 described in the count.

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                           B. Counts 1 and 2 Are Not Duplicitous

        Pamatmat asserts that Counts 1 and 2 should be dismissed because they

 improperly allege multiple conspiracies and are, therefore, impermissibly duplicitous.

 This argument is without merit.

        The Sixth Circuit has explained that:

        An indictment is duplicitous if it joins in a single count two or more distinct
        and separate offenses. The vice of duplicity is that a jury may find a
        defendant guilty on the count without having reached a unanimous verdict on
        the commission of any particular offense. By collapsing separate offenses
        into a single count, duplicitous indictments prevent the jury from convicting
        on one offense and acquitting on another. Therefore, duplicitous indictments
        implicate the protections of the Sixth Amendment guarantee of jury
        unanimity.

 United States v. Cambell, 279 F.3d 392, 398 (6th Cir. 2002) (internal quotation marks

 and citations omitted).

        The indictment does not allege multiple conspiracies within the same count.

 Rather, Count 1 alleges one conspiracy in violation of 21 U.S.C. §§ 841(a)(1), 846, and

 Count 2 alleges a separate conspiracy in violation of 18 U.S.C. §§ 1347, 1349.

 Pamatmat appears to being arguing that Count 1 charges multiple conspiracies

 because it alleges a conspiracy to distribute and possess with intent to distribute

 multiple controlled substances. (Dkt. # 853, Pg. ID 3693-94.) But “[a] single conspiracy

 may have as its objective the distribution of two different drugs without rendering it

 duplicitous.” Campbell, 279 F.3d at 398 (emphasis and citation omitted).




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                                   IV. CONCLUSION

       IT IS ORDERED that Defendant Adelfo Pamatmat’s Motion to Dismiss Counts

 One and Two of Second Superseding Indictment (Dkt. # 853) is DENIED.

                                         s/ Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE

 Dated: March 31, 2015

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, March 31, 2015, by electronic and/or ordinary mail.


                                          s/Holly Monda for Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522




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